           Case 4:17-cv-02714 Document 1-2 Filed  in TXSDTHIS
                                                           on 09/08/17  Page 1l/ofCt
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                                             DELIVERED
                                              D~V~D T~s        DAY DAY OF
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            CourtCourt                         Attorney Requesting
                                               Attorney             S vice
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Barbara
BarbaraGladden
          GladdenAdamick
                    Adamick                    Jordin Nolan
                                               Jordin       Kruse
                                                        Nolan   Kruse
P.O.
P.O.Box
      Box2985
            2985                               16826 Titan
                                               16826       Dr Dr
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Conroe,
Conroe,Texas  77305
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                                     Benefit       Inc,
                                               Solutions,       Inc.
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Said Plaintiff's
Said        P~lairitiff's Original
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c urt ori~this`0the
court         on this` the 2nd   2ndday
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said
saidcourt,      and styled,
            court,          Neil Gilmour,.III,
                     and styled,.      Neil Sol                            ;ely ,.in
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the
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         Victory Medical                    Land 1101K
                                   Center Landmark                      xd~~C eNd~ii tors' Grantor
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                                                           k Uris:ecure                                    TrustVS.
                                                                                               Grantor Trust        VS . ~i ~
HealthSmart
HealthSmart      Care  Management
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                                                             , LP,Heal~hSmart
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                                                             Barbar        Gladden Adamick,
                                                                           Gladden  Adamick,District Clerk Clerk
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                          (SEAL)
                          (SEAL)                      ' ~ v ~r;          ~         Montgomery
                                                                                   Montgomery     Cou~}ty
                                                                                                  County,   Texas
                                                                                                          ~ Texas

                                                           By
                                                           By:
                                                                                           Melisa Miller,
                                                                                           Melisa         DeputyDeputy
                                                                                                    Miller,
              Case 4:17-cv-02714 Document 1-2 Filed in TXSD on 09/08/17 Page 2 of 15


                                               OFFICER'S RETURN
                                                          RETURN
Cause
CauseNo.No.17-06-06856
               17-06-06856                            Court No:
                                                      Court   No:284th  Judicial
                                                                    284th        District Court
                                                                             Judicial      District Court
Style:
Style: NeilNeil
            Gilmour, III, SolelyIII,
                 Gilmour,        in hisSolely
                                       Capacity inas Trustee of the Victory
                                                      his Capacity       as Trustee of the Victory
Medical Center
Medical         Landmark
            Center   LandmarkUnsecured   Creditors'
                                    Unsecured        Grantor TrustGrantor
                                                   Creditors'        VS. HealthSmart
                                                                               Trust VS. HealthSmart
Care
CareManagement
       Management   Solutions,  LP, HealthSmart
                       Solutions,                  Benefit Solutions,
                                        LP, HealthSmart               Inc. Solutions, Inc.
                                                                Benefit
To:
To:           HealthSmart Benefit
              HealthSmart           Solutions,.
                                Benefit         Inc.
                                           Solutions,       Inc.
Address: Prentice
Address:           Hall Corporat=ion'System
              Prentice     Hall Corporation 'System                   : c
               211 E 7th
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Ser~ving~'`Petiti'on                                                            St~hle         5,County,
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                                            other       Constable,
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                                                            a Sheriff,         the Co~urt. Inor- Clerk of the
                                                                            Constable,                         :,~ Couit. In
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              .with Rule 107: the officer, or authorized persoa~who servicea, or attempts
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                                                                       Declarant/Authorized ProcessProcess
                                                                       Declarant/Authorized         Server Server

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   Case 4:17-cv-02714 Document 1-2 Filed in TXSD on 09/08/17 Page 3 of 15
                                                                                                            Received andand
                                                                                                            Received          E-Filed
                                                                                                                         E-Filed         for Record
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                                                                                                                          6/2/2017     6:36:11 PM
                                                                                                                          6/2/2017 6:36:11           PM
                                                                                                                   Barbara     Gladden
                                                                                                                    Barbara Gladden         Adamick
                                                                                                                                       Adamick
                                                                                                                                      District    Clerk
                                                                                                                                      District Clerk
                                                                                                                  Montgomery       County,
                                                                                                                  Montgomery County,       TexasTexas

                                        C-AUSF, NO.
                                        CAUSE       17-06-06856
                                                NO. 17-06-06856

NEIL
NEIL GILMOUR,   III,SOLELY
     GIL.MOUR, IH,   SOLELYININ HIS                             §        IN THE
                                                                         IN              COURTOF
                                                                                DISTRICT COURT
                                                                            THE DISTRICT       OF
CA—PACITYAS
CAPACITY.      TRUSTEEOFOFTHE
           AS TRUSTEE       THE                                 §
VICTORY   MEDICAL,CENTER
VICTORYMEDICAL        CENTER                                    §
LANDMARK    UNSECURED
LANDMARK UNSECURED        CREDITORS'
                          CREDITORS'                            §                              284th Judicial District
                                                                                                       Judicial        Court Court
                                                                                                                    District
                                                                                      County - 284th
                                                                         Montgom ery County
                                                                         Montgomery
GRANTOR  TRUST,
GRANTORTRUST,                                                   §                                                        I
PLA RUIFFS
PLAINTIFFS                                                      §        MONTGOMERY
                                                                         MONTGOMtRY CO UNTY, TE
                                                                                    COUNTY,     XAS
                                                                                             TEXAS

vs.
VS.                                                             §
                                                                §P
BEALTHSMAkT
HEALTHSMART BENEFIT    SOLUTIONS,
               BENEFIT SOLUTIONS,                               §
-INC.AND
 INC. AND HEALTHSMART
          HEALTAWART    CA'RE
                       CARE
 MANAGEMENTSOLUTIONS,
 MANAGEMENT    SOLUTIONS, LP
                          LP                                    §                         JLTDICIALDISTRICT
                                                                                          JUDICIAL DISTRICT

                               PLAINTIFF'S
                               PLAINTIFF'SORIGINAL
                                           ORIGINAL PETITION AND
                                                             AND
                                    REQUEST FOR DISCLOSURE
                                    REOUEST      DISCLOSURE
TOITH.E
TO      HONORABLEJUDOE
   THE HONORABLE JUDGE, OF      COURT:
                           SAID COURT:
                        OF'SAM

         NOW
         NOW COMESNeil
             COMES        Gilmour,
                   Neil Gilmbur,         III,insolely
                                 III, solely   h      in his      capacity
                                                          . is. , cap14city as as. Trustee of the
                                                                                   Trustee of      Victory
                                                                                              the Victory   Medical
                                                                                                          Medical
                                                                     :
Center  Landmark
Center Lmdmark     Unsecured
               Unsecured Cieditors'Creditors'  Grantor. Triistt 1hereinafter,
                                    Grantdr. Trds                (hereinafter,     "Plaintiff'),
                                                                              "Plaintiff% who files thiswho files this

Original    Petition
Original Petifibn      complaining
                  cqmplaining           of HealthSinart
                              of HealthSmart Benefits Solutions,.Benefits              Inc. and HealthSmart Care
                                                                            Solutions,Card
                                                                  Inc. and HealthSmart
          I
Management  Solutions,
Man4gement Solutions, LP, aLP, and    would
                                l nd would    respectfully
                                           respectfully show1heshow   the following:
                                                                following:

                                     I.L D1k0V-9kY eONTROLPLAN
                                         DISCOVERY.CONTROL PLAN.
         1
         1.       Discovery
                  Discoveq. in ihis,incase
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                                                                           (2) pursuant     Two (2) pursuant to Rule
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190 of'the
    of the   Texas
           Texas Rule&Rules
                       of Civilof Civil Procedure.:
                               ProcedUre:,

                                                   H!: PARTItS
                                                   IL  PARTIES
                                 .
         2.
         2.       Victor y' MediCal
                  Victory   M  dii - a,1, Center
                             e-Ic         Center Landmark.  LO, (hpreinatter
                                                  Landmark, LP,  (hereinafter,i "VMCL"'
                                                                                "VMCL"oror "Claimant")
                                                                                         "Clairnaht")

was a
was, a Texas
       Texas lin.i.40d
                   lim4ed    Partnership
                       partnership.                         y, operated
                                    tbat foimerlthat formerly  opera et d ~a--
                                                                          a hospital         located
                                                                               h6spital located at      53,30f: N.
                                                                                                     at 5330    N.Lbop
                                                                                                                    Loop

1694W,   in San
1694W in San    Antonio,
             Antonio,     Montgomery.. County, Texas 78249,
                      Montgomery                     78249, where
                                                            Where VMCL Washead
                                                                  VMCL Was headquartered.
                                                                               quarte red.




                                                           1
      Case 4:17-cv-02714 Document 1-2 Filed in TXSD on 09/08/17 Page 4 of 15




~   VMCL was aaprivately-owned
    VMCL        privately-owned entity
                                 entity that
                                         thatprovided  specialized-surgical-hospital services
                                              providedspecialized-surgical-hospital  services to

    patients in.the
             in the San
                    San An.tonio
                        Antonio market.

           3.      Due to the:acts
                          the acts .and otnissions of
                                    and omissions  of the
                                                      the Defendants
                                                          Defendants in
                                                                      in the
                                                                          the case at bar, and
                                                                              case at      and the acts

    and omission of other
                    other parties
                          parties in
                                   in unrelated
                                       unrelated cases,
                                                  cases, the
                                                          the insurance
                                                               insurance companies
                                                                         companies and benefit plans

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                        V1VICL began       drasticallyreduce
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                                                              andlortotally  refuse to
                                                                     totallyrefuse   to pay and/or
                                                                                            and/or

    withhold.funds
    withhold funds due. and owing
                   due and  owing to
                                  to VMCL,
                                     VMCL,.which
                                           whichresulted
                                                 resultedinin VMCL filing~for
                                                                    filing for bankruptcy under

    Chapter
    Chapter 11
            11 of the Bankruptey_
               ofthe.             Code: VMCL isisone:
                      Bankruptcy Code.            one of
                                                      of several
                                                         several.Debtors
                                                                 Debtors in.
                                                                          in aajointlyj
                                                                                jointly administered

    Chapter -11
            11 Bankruptcy  Proceeding that is pending in the United States Baplcruptcy
                Bankrdptcy Proceeding                                      Bankruptcy Court for ,the
                                                                                                 the

    Northern District of Texas
    Northern Distr'ict    Texas -Fort
                                 —FortWorth
                                       WorthDivis'ion,
                                              Division,under:
                                                         underCase
                                                               CaseNumber   15-42373-rfn-11
                                                                    Number15-42373-rf~n-11

    (hereinafter, "Bankruptcy Proc.eeding"};
                              Proceeding"). The Debtors in this
                                                            this Bankruptcy
                                                                 Bankruptcy Proceeding
                                                                            Proceeding comprise

    several hospital
            hospital Debtors,  including. VMCL,
                     Debtors, :including, VMCL, their
                                                 their.general
                                                        general partners,
                                                                partners,and
                                                                          and the parent company,
                                                                                         company,

    Victory Parent Company, L.L:C:
                            L.L.C.

~
           4.      Plaintiff,
                   Plaintiff,, Neil
                               Neil Gilmour,
                                    Gilmour, III, (hereinaffter;
                                                  (hereinafter; "Mr.
                                                                 "Mr..Gilmour"
                                                                       Gilmour"oror "Plaintiff'),
                                                                                    "Plaintiffl'), isis the

    Trustee of the
    Trustee of  theVictory
                    Victory1Vledical.
                            Medical. Center
                                      Center Landmark
                                             Landmark Unsecured Creditors' Grantor
                                                      Unsecured Creditors' Grantor Trust
                                                                                   Trust

    (hereinafter; " Grantor
    (hereinafter,   Grantor Trust")
                            Trust'') under the Bankruptcy Proceeding.
                                                          Proceediiig. Pursuant
                                                                       Pursuant to the Findings of
                                                                                       Findings of

    Fact, Conclusions of Law and Order Confirining
    Fact, Conclusions                  Confirming First
                                                   First Amended
                                                         Amended,Joint Plan of
                                                                 Joint Plan ofReorganization
                                                                               Reorganization

    (Docket Number 969 in the BankruPtcy
    (Docket:Number:969        Bankruptcy Proceeding), this
                                                      this cause
                                                           cause of
                                                                 of action
                                                                    actionis
                                                                           is a Reserved Litigation

    Claim that belongs, together with .its proceeds, to
                                 witli,its.proceeds; to the Grantor
                                                            Grantor Trust
                                                                    Trust. Since
                                                                           Since Mr:
                                                                                 Mr. Gilmour,is
                                                                                     Gilmour is the.
                                                                                                the

    sole Trustee of
                 of the.;Grantor
                    the Grantor Trust,
                                 Trust; Mr.
                                        Mr...Gilmour
                                          . Gihnour is the proper Plaintiff'in
                                                                  Plaintiffin this
                                                                               this cause.of
                                                                                    cause of action..

            5:.
            5..    Defendant, HealthSmart.Benefit
                              HealthSmart Benefit Solutions, Iric., (hereinafter; "HealthSmart")
                                                             Inc., (hereinafter,  "HeaithSmart") is
                                                                                                 is a
    foreign
    foreign corporation
            corporationzregistered and
                          registered anddoing
                                          doingbUsiness
                                                businessin inthe
                                                               theState
                                                                   StateofofTexas.
                                                                             Texas. Service may be
                                                                                    Service may

    perfected on this Defendant:bypersonal
              onthis.Defendant:by personalservice
                                           serViceon
                                                   onits
                                                      itsregistered
                                                          registered agent
                                                                     agentas.
                                                                           as. follows:




                                                      3
                                                      2
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                                      PreriticeHall
                                      Prentice  HallCorporation
                                                      CorporationSystem
                                                                   System
                                          E. 7th
                                      211 E.      Street,Suite
                                              7`h Street, Suite620
                                                                620
                                      Austin,.TX
                                      Austin,  TX78701-3218
                                                    78701-3218

               6.      Defendant,HealthSmart
                       Defendant, HealthSmart  Care
                                             Care            Solutions,
                                                    Management
                                                  Management    Solutions,               ;
                                                                             (hereinafter,
                                                                        LP, LP, (hereinafter

        "HSCIVLS")
        "HSCMS") is aisdomestic
                        a domestic limited
                                limited    partnership
                                        partnership doingdoing business
                                                          business           the of
                                                                   in theinState    Texas.
                                                                                 State     Service
                                                                                       of Texas.   may may
                                                                                                 Service

           perfeetedon
        be perfected onthis
                        thisDefendant
                             Defendantbybypersonal;service
                                         personal service on,on, its registered
                                                             its registered       as f011ows:
                                                                            agentagent as follows:

                                       CoiporationService
                                       Corporation   ServiceCompany
                                                              Companyd/b/a
                                                                        dlb/a
                                       CSC-LawyersIncorporating
                                       CSC-Lawyers     Incorporating        Company
                                                                      Service
                                                                    Service   Company
                                       211 E.
                                           E. 7th Street, Suite
                                               7' Street,. Suite620
                                                                 620
                                       Austin,TX
                                       Austin,  TX 78701-3218
                                                    78701-3218


                                           JiJRISDIC'PIONAND
                                      III. JURISDICTION
                                      III.                ANDVENUE
                                                              VENiTE

               7.      This Court
                       This Courthas
                                  hasjurisdiction
                                      jurisdiction  over
                                                  over   ,this
                                                       this    rriatter
                                                            matter      because
                                                                   because it is aitcivil
                                                                                     is a civil    and the
                                                                                                dispute
                                                                                          dispute       and the

        amouintinincontroversy
        amount      cointroversy exceeds
                               exceeds thethe minimuni
                                           minimum     jurisdiction
                                                   jurisdiction limits.limits
                                                                         of thisofCourt
                                                                                   this Court.    of thisof this
                                                                                               Removal
                                                                                         Removal

        case to federal court,would
                federal court  wouldbebeimproper,
                                          improper,
                                                  as as
                                                     (i) (i) there
                                                          there    is.,no
                                                                is no     federal
                                                                       federal    .question
                                                                               question        by Plaintiff's
                                                                                        raisedraised by Plaintiff's

{~ 'I   pleadings;(ii)
        pleadings; (ii) complete
                        completediversity
                                 diversityof
                                           ofcitizenship
                                              citizenshipdoes
                                                          doesnot.
                                                               not.exist-between
                                                                     exist~between  Plaintiff
                                                                                 Plaintiff     Defendants;
                                                                                           andand Defendant.s;

             (iii) Plaintiff
        and (iii)  Plaintiffsolely
                             solelyasserts.state-law.claims.against    the.:Defendants.:
                                   asserts state-law claims a.gainst•the, Defendants.

                8.     Venue of
                       Venue of this
                                thisaction
                                     action.isproperininMontgomery
                                           is proper    MoritgomeryCounty,   TeXas,
                                                                   County, Texas,    puisuant
                                                                                  pursuant     to Section
                                                                                           to Section

                        the Texas
        15.002(a)(1) of the TexasCivil
                                  CivilPractice
                                        Practice&&Remedies
                                                   Remedies  Code
                                                           "Code   because.all
                                                                 because all or aor  a
                                                                                  :substaritial
                                                                                   substantial  partofofthe
                                                                                               part       the..

               or omissions
        events or ornis "sions giving
                            giving    to the
                                   to the    elaims
                                          claims    occurred
                                                 occurred      in Montgomery
                                                          in. Montgomery     County,
                                                                         County,     Texas.
                                                                                 Texas.

                                                   M AGENCY
                                                   IV. AGENCY

                9:
                9.      At all times alleged
                        At,          ;allegedherein
                                              hereinthat
                                                      thatDefendants,
                                                           Defendants,. HealthSmart
                                                                      HealthSmart     and/or
                                                                                  and/or     HSCMS,
                                                                                         HSCMS, did andid an

            or failed
        act or  faiiedtotodo
                           doany
                              any.,aet
                                 act oror duty,.it.is
                                        duty,         meant
                                              it.is meant thatthat.Defendants' auttiorized,
                                                               Defendants' authorized,      apparent
                                                                                               ; or
                                                                                       apparent, or ostensible
                                                                                                    ostensible

        agents,
        agents, employees
                employeesor
                          orrepresentatives
                             representafives  through
                                            through   HealthSmart,andlor
                                                    HealthSmart           HSCMS
                                                                and/or HSCMS and/orandlor  their affiliates,
                                                                                    their affiliates,

        subsidiaries;parent
        subsidiaries; parent. company
                                   ;'atid
                            company, and successors
                                          successorsand
                                                     andassigns
                                                         assignsdid
                                                                  did such
                                                                    such actact
                                                                             or or failed
                                                                                failed    to do.
                                                                                       to do suchsuch act or
                                                                                                  act or

        duty,,
        duty,,thereby
               therebymaking
                       making Defendants
                             Defendants    liable
                                        liable    under
                                               under     the doctrine
                                                     the doctrine      of respondeat
                                                                  of respondeat       superior.
                                                                                superior.       Defendants
                                                                                          Defendants


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=~   and theirs affiliates,subsidiaries,
         their affiliates,  subsidiaries,parent
                                         parent company,
                                                company, and
                                                         and assigns
                                                             assigns and                    through their
                                                                          successors acting through
                                                                     and successors

     employees; independent
                independent contractors,
                            contractors, agents, officers, directors,
                                                           directors, rnanagers,    representatives,
                                                                      managers, and representatives,

     were. acting as
     were acting  as the
                     :theDefendants'
                         Defendants' "insurance
                                      "insurance verification
                                                 verificationagents,"      that phrase
                                                              agents,"asasthat              used in
                                                                                phrase isis used    this
                                                                                                 in.tliis

     pleacling:
     pleading. However,
                However, these
                          these insurarice
                                 insurance verification
                                           verification agents were unfit agents.  Defendantsw,were
                                                                          agents. Defendants    ere

     subjectively aware of the.
     subjectively aware     the .risks. of liiring
                                 risks of  hiring tliese
                                                   these unfit
                                                         unfit insurance
                                                                insurance verification         but,
                                                                                       agents; but,
                                                                          verification agents;

     nevertheless, ~the Defendants,proceeded
                   the Defendants   proceededwith
                                              withhiring
                                                   hiringthese
                                                          these-unfit insurance verification
                                                               unfit insurance  verification agents
                                                                                             agents in

     conscious, indifference
     COASCiolls  indifference to
                               to the
                                  the.rights,
                                       rights;safety,
                                               safety, and
                                                       and welfare
                                                           welfare of
                                                                   of others,  including, but
                                                                      others; including,      not limited
                                                                                          but not         to;
                                                                                                  limited to,

     the
     the. Claimant.

             10..
             10.      Likewise; Claimarit and/or
                      Likewise, Claiinant and/or its affiliates,
                                                      affiliates, ;subsidiaries, parent company,
                                                                  ;subsidiaries, parent           and
                                                                                        company, ;and

     successors and
                and.assigns;        throughaheir employees, independent contractors, agents, officers,
                    assigns, acting through:their

                                                                             hereinafter, "Claimant's
     directors, managers, and representatives (individually and collectively hereinafter, "Clainiant's

     agents"), received the representations
                            representations from the
                                                 the Defendants'
                                                     Defendants' insurance  verification agents, upon
                                                                  insurance verificatiori

     which Claimant I rightfully.
                      rightfully relied:upon.
                                  relied:upon:

                                            V:
                                            V. INTItOI)UCTION
                                               INTRODUCTION

             11.
             11.      Plaintiff asserts state-law
                                        state-law clairns
                                                  claims of
                                                          ofnegligent;.misrepresentation
                                                            negligent misrepresentation and violations of.
                                                                                                       of

     the Texas;Insurance Code
                         Code.against.the
                              against.the Defendants.

             12,
             12.      VIVICL providedhealthcare
                      VMCL, provided  healthcare services
                                                 serv'ices:to.the patientdescribed
                                                          to the patient described herein.
                                                                                   herein.

             13.
             13.      The patient the
                                   the subject-, of this litigation,
                                        subject of       litigation, who r.eceived
                                                                          received the healthcare seryices
                                                                                                  services

     described herein,
               herein,.is
                       is patient RS (hereinafter,.
                                      (hereinafter,"Patient"),
                                                    "Patient"), The
                                                                 ThePatient.
                                                                     Patient was
                                                                             was the
                                                                                 the beneficiary
                                                                                     beneficiary under a

     self-insured, contributory
     self-insured, contributory- defined
                                 defined benefit
                                         benefit .plan,
                                                  plan, (hereinafter, "Plan) of
                                                        (hereinafter, "Plan) of .Patient's
                                                                                 Patient's employer,
                                                                                            employer,

     Kickapoo Traditional Tribe
                          Tribe,ofTexas,
                                .of Tekas,(hereinafler;
                                           (hereinafter, "Kickapoo"}.
                                                         "Kickapoo").

             14:
             14.      Kickapoo delegated
                      Kickapoo delegaie.dmuch
                                          muchof
                                               of its
                                                  its discret'
                                                             tonary duties
                                                      discretionary duties under
                                                                           under the
                                                                                  the Plan
                                                                                      Plan to

     HealthSmart as aa third
     HealthSmart        thirdparty
                              partyadministrator
                                    administrator(hereinaffter,
                                                  (hereinafter, "TPA")
                                                                "TPA"),; wherein
                                                                         wherein HealthSmart
                                                                                 HealthSrnart had


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  discretionary.;authority.
I discretionary authority andand contiot
                               control   over
                                       over     claitns
                                            claims  and and adminigtratioxi
                                                        administration        Plan,
                                                                       of theof the which included
                                                                                    Plan, which  included

adjudication of
adjudication of nAedical  clalrhs
                Medical claims     (along
                                (along withwith
                                             fullfull.
                                                   andand
                                                       fairfair review
                                                             review  of of appMed
                                                                        appealed claims),
                                                                                     claiins),

determifiat
          -ipn of coverage,
determination     coveragej reimbursements,   and
                            reimbursements, and thethe. dispo§ition
                                                     disposition         Plan'sasRets
                                                                      of Plan's
                                                                 of the             pursuant,toto
                                                                         the assets pursuant

the-terms
the l terms,of.
             of.1 the
                  thePlan.
                      Plan. HS.CMS, Health$MaWs
                            HSCMS, HealthSmart's    affiliate,
                                                 affiliate,    provided
                                                            provided      management
                                                                     carecare manaeement    services,
                                                                                     serVices,

including claim precertification,
including Claim precertification, onon hehalf
                                     behalf of of
                                                thethe Plan.
                                                     Plan.   HealthSmart
                                                           HealthSmart and and HSCMS
                                                                           HSCMS each each

participated
participated ininthe
                  theprecertification
                      precertificatibn  ptocesg
                                      process     of thd
                                              of the     healthcare
                                                     healthcare       services'the.
                                                                services             subject
                                                                         the subject of        of this litigation
                                                                                        this litigation

asdiscuSsed
as discussedbelow.
             bel(jw.


        15.
        15.     it is common practiceand
                      common practice and,customary
                                            customary  in the
                                                    in the    health
                                                           health carecare industry
                                                                       industry      (hereinafter
                                                                                (hereinafter;

"Industry")
"Industry") for
            f6r.health  insurance.
                health insurance   compan
                                       . ies,health
                                 companies,   healih  plans,.
                                                    plans,    PPOS,
                                                           PPOs,       to issue
                                                                 etc., etc., to issue  insurana
                                                                                 insurance cards oatdg

which
which.have
       haveprinted
            printedthereon
                     thereon  pertinent
                           pertinent    contact
                                     contact      iilformatioti
                                             information        -forinsurance
                                                          for the     the insurance   verifitation
                                                                              verification         agents of
                                                                                           agents of

insurance
insurancecompanies
          companiesto to.
                       verify
                          verify insurancd
                              insurance     coverage
                                        coverage      and benefit
                                                 and benefit levels levels, to hospitais.
                                                                    to hospitals.         'Using thego.
                                                                                  Using these

"insurance
  Insurancecards,
            cards
                i hospitals
                  hospitals call insutaticeverification
                             callinsurance              agtiitstotoverify
                                           vetificationagents       verifythe
                                                                           thefollowing
                                                                               followingimportant
                                                                                         important

information:
information:

                to confirm that
                           that an
                                an.individual
                                     MWIVIdualhashas benefits
                                                  benefits    under
                                                           under      a health
                                                                 a health       plan/insurance
                                                                          plan/insurance policy;policy;

                to discover
                to discovOrwhat
                            whatcoverage and level
                                  coveragdatid  level ofbendfits
                                                   of benefits are are available
                                                                   available to an tb an indi'vidiial,
                                                                                    individual; and and

                to discover
                   discovetwhere
                              wheiretheihe  bospital
                                          hospital      should,submii
                                                    should  submit,itsits. claim
                                                                            'Claimfor
                                                                                    forpayment,
                                                                                        payment,
                                                                                           -     ifif the  h6spital
                                                                                                       thehospital
                makesthe
                makes    the,financial
                               fi
                             ,hancial.     decisiontotoaccept
                                         decision        accept that
                                                                  that.particular
                                                                           -particular   coverage.
                                                                                       coverage   and    and  level
                                                                                                          level  of of
                benefits
                                                                                              .
                benefits and
                         andprovides
                               pro vi;de
                                       s the
                                          the.care
                                              0Are in
                                                    in:qnestion
                                                        qubs ti 6n'
                                                                 toto.th
                                                                    that at   indi vi dual/Dro
                                                                           individual/prospedtive
                                                                                             SOeOiVevatient.
                                                                                                        patient.


        16.
        16.     Hospitals have
                14ospitals  have.
                               no no  oth&
                                   other     n of - verifying
                                          -leans
                                         means      Ve-.n
                                                        , 'f'yipg coverage
                                                                  coverage   and
                                                                           and   benefits
                                                                               benefits for for
                                                                                             a a

prospectiVe.patient
prospective  patient other 'than
                    -bt.herthan calling an insurance
                                 calling4n           verification agent.
                                           insurance:*erification   agent. Therefore,
                                                                         Therefore, it isitpivotal
                                                                                            is. pivotal
                                                                                                   that that

the
the insurance
    itisu'rance.*erificatio
              Verification            hiredby
                             agents hired
                         .fi-agei,its       b an
                                           _,y an insurance company
                                               . insurance   companyor or pl are
                                                                       plan
                                                                         an   atewell,
                                                                                  wellqualified,
                                                                                       qualified,well
                                                                                                 well

'trained,
 trained, and
          and well
              well,supervised individuals,
                    sitpervised indiViduak  who
                                           who are.are cApable
                                                    capable       of
                                                            of - consistently
                                                                 consistently  co
                                                                              communicating
                                                                                mmumcatingclearly
                                                                                            clearly
and - accurately
aiid  accuraiely all
                 aU of the pertinent . coverage
                       thepertinent    poverageand benefit
                                                 and       information
                                                     benibfit          to the
                                                               infomation  to hospitals.
                                                                              the hospitals.   It ig well
                                                                                         It is well


                                                       m
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     kriowir
     known inin the
                the Industry
                    Industry that hospitals
                                  hospitals must
                                            must be ;able to rely
                                                     able to rely upon
                                                                  upon the
                                                                       the coverage
                                                                            coverage and
                                                                                     and benefit
                                                                                         benefit

                             the,insurance
     information provided by the                                  makirigthe
                                 insurance verification agents in making  thevery
                                                                              veryimportant
                                                                                   importantfinancial
                                                                                             fnancial

     decision of whether ta
     decision            to provide, expensive healthcare
                            provide, expensive .healthcareservices
                                                           servicestotoa aprospective
                                                                           ptospectivepatient.
                                                                                       patient. If
                                                                                                If the

     information
     information provided
                 providedby
                          by an
                             an insurance verificationagent
                                insurance verification agent to
                                                              to the
                                                                 the hospitals    inaccurrate.oror
                                                                     hospitals is inaccurate

                                               darnaged finanoially.
     incomplete, the hospitals can be severely damaged  financially. For
                                                                     For decades
                                                                         deCades Texas courts have

     taken judicial notice of these commercial realities, customs, and routine practices. See Hermann
                                                                                              Hermann

     Hospital v. National
     Hospital v. NationalStandard
                          StandardIns.,
                                   Ins.,776 S.W2d
                                            S.W.2d 249, 2S4
                                                        254 (Tex. App.—Houston [1st Dist:] 1989,
                                                                               [lsf Dist.]

     no:writ)(holding that
                      that hospitals
                           hospitalscan
                                     cansue     rec"overthe
                                         suetotorecover   thehospital's
                                                              hospitdl's         proximatelycaused
                                                                        darnages proximately
                                                                        damages              causedbyby

               coinpanies' rriis.representatioris
     insurance companies'
     insurance                                    aboutthe
                           Misrepresentations about   the health  coverage and
                                                           health coverage and benefits
                                                                               benefits,available
                                                                                         available-toto

     liospitals fortheir
     Hospitals for theirtreatrrientofpatients):
                         treatment of patients):

                                     VI. FACTUAL
                                         FACTUAL BACKGROUND

            17.  At all, times herein,
            17.. At            herein; VMCL,
                                       VMCL, the
                                              the Claimant;
                                                   Claimant, was
                                                             was an
                                                                  anout-of-network
                                                                     out-of-network 'provider
                                                                                     provider

     (hereinafter, "OON");
     (hereinafter,. HOON"), which
                            which had no contract
                                         contract with
                                                  with HeaithSmart,
                                                       HealthSrnart, HSCMS,
                                                                     HSCMS, or the Plan for any

     pre.-negotiated foe
     pre-negotiated  fee.rates.
                         rates.

             18:
             18.     Claimant 'provided healthcare services to the Patient
                     Claimant'provided                                     RS in
                                                                   Patient RS in.2013 for aa period
                                                                                 2013 for    period.of
                                                                                                    of

     twenty=two
     twenty-two (22) days of inpatient
                (22) days     inpatient treatment
                                        treatment over
                                                  over a course
                                                         course of three
                                                                    three (3)
                                                                          (3) separate  periods of
                                                                               separate periods

     treatment
     treatment,of.th.e Patient by
               of the Patient  by Claimant, which claims are
                                                         are:described
                                                             described below:
                                                                       below:

                     aa.     inpatient-healthcare
                             inpatient=healthcare services,
                                                  services; medical
                                                             med"icaldevices,
                                                                        devices,and/or
                                                                                 and/or goods provided,
                                                                                               provided to
                             Patient over       course Of
                                     over the course   ,of fifteen
                                                            ,fifteen(15)
                                                                      (15)days
                                                                            daysinin 2013,
                                                                                     2013, with
                                                                                           with usual
                                                                                                 usual and
                                                             thesum
                             customary charges incurred in the   surii of $2,113,995.15;
                                                                          $2,113,995:15;
                     b.      inpatierit=healt.bcate services,
                             inpatierit-healthcare  services;, medical devices, and%r
                                                                                 and/or goods provided to
                                                                                                       io
                             Patient
                             Patient
                              .,      over the
                                       ;over    course
                                             the. courseofof six
                                                           six   (6)
                                                               (6) days in 2013, with
                                                                                 with usual and customary
                             charge"s incurred in the
                             charges                   sumof $22,459.28;
                                                   the sum      $22,459.28;

                     c.
                     C.     inpatient-healthcare
                            mpatierit-healthcare -services,.
                                                    services, medical
                                                              medical devices,
                                                                       devices, and/or
                                                                                andlor goods provided to
                            Pati'erit on
                            Patient   on aa:date.   2013;'with
                                            date in 2013,      usual;and
                                                          with usual and customary charges
                                                                                    charges`in
                                                                                           in the sum of
                            171,778:97:
                            $71,778.97.

r-

                                                       6
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~                          Total: $2,208,233.40
                                   $2,208233.40

    The above
    The above inpatient-healtheare   servicesshall
               inpatient-healthcare services  shall hereinaftpr be collectively
                                                    hereinafterbe               referredtoto as
                                                                   collectivelyreferred

    "Healthcare Services."

           19;
           19.     As           Claimant's normal
                      part of , Claimant's
                   As part                 normal course
                                                  course of business,
                                                            business, Claimant verified Patient's
                                                                      Claimant verified

    benefits under the Plan with Defendants
                                 Defendants prior
                                            prior to
                                                  to deciding
                                                     deciding to
                                                               to provide the Healthcare
                                                                  provide the            Services to
                                                                              Healthcare Services' to

    the Patient.
        Patient. Specificaily,
                  Specifically, .HeaithSrnart
                                 HealthSmart and HSCMS
                                                 HSCMS made
                                                        madethe•
                                                              the following   representations "to
                                                                   folloWing representations   to

    Claimant: (i)
    Claimant: (i) there
                   therewere
                        wereno  applicable :exclusions
                             no applicable             under the
                                           exclusions under   the Plan;
                                                                  Plan; and (ii) the Claimant;would
                                                                                 the Claimant;would

    be paid.
       paid their
             their usual
                   usual and
                         and customary"
                             custornary charges
                                        charges for
                                                for the
                                                    the Healthcare Services that were
                                                                   Services that were precertified,
                                                                                      precertified; and,
                                                                                                    and,

    in some cases,. als .oprior-authorized,
            cases, also    prior-authorized,upon
                                             uponsubmission
                                                  submissionof
                                                             ofthe
                                                                theclaims.
                                                                    claims.At no time
                                                                           At,no       prior to
                                                                                  time prior  to Claimant
                                                                                                 Claimant

    rendering any of tlie
    rendering.any                                                Defendants inform
                                                            the.Defendants
                     the Healthcare Services to Patient did the.            inform Claimant
                                                                                   Claimantthat
                                                                                            thatany
                                                                                                 any

    exclusions.may
    exclusions may apply under the Plan: In'fact,
                                          In fact,the
                                                   theDefendants
                                                       Defendantsgavel Claimant confirmation of
                                                                  gave Claimarit             of the

    Patient's
    Patient's coverage
              coverage for
                        forthe
                            theHealtlicare
                                HealthcareServices
                                           Servicesthe
                                                    the subject
                                                         subject of
                                                                 ofthis. litigation prior
                                                                    this litigation priorto
                                                                                          to the Claimant.
                                                                                                 Claimant

                             Setvices to the Patient.
    providing the Healthcare Services

            20.
            20.    After receiving verification
                                   verification of its coverage
                                                of its coverage by
                                                                by the
                                                                    the Defendants,
                                                                        Defendants,Claimant
                                                                                    Claimaa provided

    the Healthcare
        Healthcare S.erviees
                   Services to the  Patient, 'wherein
                                thePatient,,  wherein .Claimant
                                                       Claimant incurred 'eligible and reasonable
                                                                incurred 'eligible      reasonable

    medical expenses. Claimant
    medical expenses.  Claimantthen  submittedtheir
                                thensubmitted  theirhealthcace:
                                                     healthcare. claims
                                                                 claims 'to
                                                                         to the: Defendants to
                                                                            the. Defendants  to be

    reimbursed      the Healthcare
    reimbursed for the              Servicesthat
                        Healthcare Services  thatClaimant
                                                  Claimantprovided
                                                           providedtotothethe. Patient.
                                                                                Patient in
                                                                                         in the.
                                                                                             the, sum„ of
                                                                                                  sum of

    $2,208,233.40; which were usual and customary charges,
    $2,208,233.40,                                charges, for   thoseHealthcare
                                                            for those HealthcareServices.
                                                                                 Services. Of the.

    $2,208,233.40 total
    32;208,233,.40 total charges
                         charges submitted
                                 submitted for payment, none- of the
                                                        none of  the charges
                                                                     charges were
                                                                             were allowed
                                                                                  allowed and/or

    paid under the Plan
         under:the Plan to Claimant. The
                                     The claims.were
                                         claims were denied fouthe
                                                            fat-the Healtheaie
                                                                    Healthcare Services
                                                                               SerVices provided to

    the. Patient based
    the Patient  based upon
                       uponaa1VIed'icare
                              Medicare exclusion
                                         exclusionininthe
                                                       tbePlan,
                                                          Plan,which
                                                                which denies
                                                                      denies benefits
                                                                             benefits to non-Medicare
                                                                                         r►on-Medicare

    participating              TheClaimant
    participating facilities. The  Claimantwa"s
                                            was not a Medicare-participating
                                                      Medicare-participating facility. This exclusion

    invoked by the
                the Defendants-,is
                    Defendants is iri
                                   in direct contrast
                                             contrast with
                                                      with the.
                                                            the expressi representationsmade
                                                                express representations madeby
                                                                                             by'the
                                                                                               'the



                                                      7
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~      Defendants.
       Defendants totothe
                        theClaimant
                            Claimant  that
                                    that no no exclusions
                                            exclusions    were
                                                       were    applicable
                                                            applicable      to Healthcare
                                                                       to the             Services
                                                                               the Healthcare      to be to be
                                                                                               Services

       provided  bythe
       provided by  theClaimant
                        Claimantunder
                                  under
                                      thethe Plan.
                                          Plan.

                              VII. NEGLiGENT
                                    NEGLIGENT MISPIZEPRESENTATI(IN
                                              MISPREPRESENTATION

              21.     Plaintiff incorporates
                                 incorporatesand
                                              andre-alleges
                                                   re-allegesthat
                                                               'that  allegations
                                                                  allegations      forthforth
                                                                               set set.  above.
                                                                                              above.

              22.     Plaintiff contendsthat
                      Plaintiff contends tha`t,despite
                                                despiteproviding
                                                        providingthetheClaimant
                                                                        Claimantverification,
                                                                                  verification,

       pirecertification,  and
       precertification, and   prior
                             prior    authorization
                                   authorization     of coverage
                                                 of coverage      forHealthcare
                                                             for the            Services
                                                                     the Healthcare      provided
                                                                                     Services     to the to the
                                                                                               provided

       Patient  on three
       Patient on  three(3)
                         (3) separate
                              separateoccasions,
                                       occasions,Claimant
                                                  Claimant  suffered
                                                          suffered   damages
                                                                   damages     in'sum
                                                                           in the the `sum      ;233.40
                                                                                       of $2,208,233.40
                                                                                            of $2,208

       when itit was denied
       when                 Plan benefits
                     denied Plan benefitsfor
                                          forreasons
                                              reasonsthat
                                                       that.   in direct
                                                             were.
                                                          were           conflict
                                                                   in direct conflict  the express
                                                                                  with with the express

       representations  rnade
       representations made byby
                               thethe.Defendarits. Each
                                    Defendants. Each     of misrepresentations
                                                     of the                    made made
                                                            the misrepresentations         were either
                                                                                    hereinherein were either

       made by HealthSMart
               HealthStimart. and/or
                           and/or    HSCMS;
                                  HSCMS.     Plaintiff
                                         Plaintiff is notissuing for benefits
                                                            not suing         underunder
                                                                      lor benefits the Plan.
                                                                                          the Plaintiff
                                                                                              Plan. Plaintiff

       is suing
          Isuingbecause
                 because,
                        thethe Defendants
                             Defendants                the PlanPlan
                                          nusrepresented-the
                                        misrepresented          terms to Claimant.
                                                                    terms  to Claimant.

!f ~           23.    Healthcare providers,
                      Healthcare  providers;such
                                              such
                                                 asas .Claimant,
                                                    Claimant,, are are     knowledge
                                                                       without
                                                                   without           or means
                                                                               knowledge      to gain
                                                                                         or means   to.gain

  r    knowledge  of insurance
       knowledge of  insurancecoverage
                               coverageand
                                         andplan
                                              planbenefits, . and, therefore,
                                                    beriefits;..and,   therefore,  rely on
                                                                              must must. relytheon the

       representations ofof.third-party
       representations                  administrators,
                          third-party administrators,    . such
                                                      such  As the Defendants,
                                                           :as     Defendants,.HealthSmart.and  HSCIVIS,
                                                                               HealthSmart and HSCMS,

       to determine
       to, deterininethe,
                      the:accurate,
                           accurate,  :complete,.
                                    complete, and and  current
                                                   current     coverage
                                                           coverage      details
                                                                    details      .ofPatient's
                                                                            of the            health health
                                                                                     the P,atient's

       insurance plan.
       insurance  plan.HealthSmart
                        HealthSmart  and/or
                                   and/or   HSCMS,
                                          HSCMS,   made
                                                 made    specific
                                                      specific     representations
                                                               representations      to .Claiinant
                                                                               to Claithant in    in

       response to
                to Claimant's
                   Claimant'`s.specific  inquiries
                              specific inquiries onon Plan
                                                    Plan   eicclusions
                                                         exclusions     overall
                                                                    andarid     coverage
                                                                            overall      available
                                                                                    coverage       to theto the
                                                                                              available
                                                       _
       Patient. Claimant informed
       Patient. Claimant  informedHealthSmart
                                   HealthSmart.and  HSCIVIS
                                              and HSCMS       that`they
                                                        that -they were were obtaining
                                                                        obtaining        this information
                                                                                  this information

       with the
            the intent
                intentto'determine
                       to 'deterrriine whether
                                    whether      to tieat
                                            to treat      the Patient
                                                      the Patient at. itsat: its facilities:
                                                                          facilities.        Claimant
                                                                                      Claimant         relied
                                                                                                relied on the on the

       representations provided
       representations   provided  HealthSmart
                                byby           and/or
                                     HealthSmart   and/or HSCMS.
                                                      HSCMS.      It. was
                                                              It was       foreseeabie
                                                                      foreseeable      that Claimant
                                                                                  that Claimant

       would rely on the representations
                         representations and
                                          .andverifications of /he
                                                verifications. of ;the Defendants.
                                                                   Defendants.     Claimant
                                                                               Claimant      did justifiably,
                                                                                        did justifiably

       and detrimentally
       and detriirientallyrely onon
                            rely  thethe
                                       Defendants' representations
                                         Defendants'  representations  coneerning
                                                                   concerning      exclusions
                                                                              exclusions underunder tlie Plan,
                                                                                              the Plan,

       the specific coverage
                    eoverage.details,
                              details,and
                                       andthetherepresentation thatthat
                                                  representation        Claimant
                                                                    Claimant wouldwould be reitnbursed
                                                                                   be reidibursed for its for its



                                                           8L
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'-'    usual and customary charges for #he Healtheare Services
                                       the Healthcare          provided to
                                                      Services provided     the Patient
                                                                         to the         when its claims
                                                                                Patient when

       were submitted.
            subrnitted. Thus,
                        Thus, itit was reasonable for
                                   was reasonable for the  Claimant to expect to be reimbursed for its usual
                                                       the.Claimant

       and customary charges for the Health Services provided to the Patient.

              24.                                                            when: (1)
                                         negligent misrepresentation occurs when:
                      Under Texas law, a negligent.misrepreseritation.occurs               party makes
                                                                                    (1) aa.party niakes a

       represent.ation in the
       representation in   the course
                               course of
                                      of its
                                         its business or in a transaction in                         interest;
                                                                          m which it has a pecuniary interest;.

       (2) the representation:supplies.
               representation supplies false.  information for
                                        false information      the guidance of others; (3) the.
                                                           for:the                              party making
                                                                                           the party

       the.representation did not exercise
       the representation did.not                      care:or
                                  exercise, reasonable care    competence in
                                                            or competence in obtaining
                                                                             obtaining or
                                                                                       or communicating
                                                                                          comtnunicating

       the information;
            information; ,(4)
                         (4) the plaintiff justifiably relied on the
                                                                  the representation;
                                                                       representation; aiid (5) the negligent
                                                                                       and (5).

       misrepresentation.proximately            plaintiffls injury. First Nat'l
                                     caused the plaintiff's
       misrepresentation proximately caused                                              Durant. v. Trans
                                                                                Bank.ofofDurant
                                                                          Nat'1 Bank

       Terra Corp. Intl,
                   Int'I, 142
                          I42 F:3d
                              F.3d 802,
                                   802, 849
                                        809.(5`h                     Federal Land
                                            (5th Cir. 1998) (quoting Federal Land Bank Ass 'n v. Sloane,
                                                                                  BankAss'n

           S:W:2d 439,
       825 S.W.2d      442 (Tex. 1991)).
                  439,442

               25.     The representations and omissions
                                               omissions made
                                                         made by
                                                              by HealthSmart and/or HSCMS
                                                                 HealthSmart and/or       were. (i)
                                                                                    HSCMS were: (i)

•~.~   made
       made in .the course of
               the course  of their business
                                    business or in connection with a transaction
                                                   connection with                  which they
                                                                                 in which
                                                                     transaction in       they had
                                                                                               had a

       pecuniary interest; (ii)
                           (ii).false  representations of coverage provided
                                false representations.             provided for Claimant's guidance; and

             made without
       (iii) made withOut the
                           theexercise
                               exercise, of
                                         of reasonable
                                             relsonable care
                                                         care ororcompetence
                                                                    competence ininobtaining
                                                                                     obtainingand%or
                                                                                                and/or

       communicating the
       comrriunicating the information.
                            information. HealthSmart
                                         HealthSmart and/or
                                                     and/or HSCMS
                                                            HSCMS made
                                                                  made these
                                                                        these representatlons
                                                                               representations

       repeatedly for each
                      each _of .thethree
                           of the   three(3)
                                          {3)claims
                                              claims for
                                                      for Healthcare
                                                          Healthcare Services
                                                                     Services that
                                                                               that Claimant
                                                                                    Claimant provided
                                                                                             provided to

       Patient. 'The
       Patient. The Claimant
                     Claimant,detrimentally
                               detrimentallyrelied
                                             relied upon
                                                    uponAhe
                                                         the 'representations from Defendants
                                                             representations from  Defendants that
                                                                                               that no
                                                                                                    na

       exclusions existed and that
       exelusions                    theClaiinant
                               that the  Claimant .would
                                                   Would be
                                                         be comperisated
                                                             ccmpensated for tlie
                                                                             the Healthcare
                                                                                  Healthcare Services
                                                                                             Serviees

        provided to Patient under
       .provided                  the Plan
                            under'the Plan when
                                           when submitted.
                                                submitted. These
                                                            These:acts
                                                                   actsand
                                                                       andomissions
                                                                           omissionsof;tlie
                                                                                    of the .Defendants
                                                                                            Defendants

       constitute negligently
       constitute inegligentlyfalse:tepreseritations:
                               false representations: The
                                                      The Claimant
                                                          Claimant has been directly and proximately

       injured as a result.of
                    restlt of its reliance on,Defendants_'
                                           on Defendants' negligently:false
                                                           negligently:falserepresentations
                                                                             representationsininthe
                                                                                                 thesum
                                                                                                     sumof
                                                                                                         ofat
                                                                                                           at

       least $2,208,233.40.
       least. $2,208,233.40. If'the Claimant
                                    Claimant had
                                             had-known
                                                 knowri that the Defendants' representations were
                                                                                             were false,
                                                                                                  false.


J                                                          9
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    the
    the Claimant
        Claimant;would
                  wouldnotnot have
                           have,   agreed
                                 agreed    to provide
                                        to provide the the Healthcare
                                                       Healthcare          to thetoPatient,
                                                                       Services
                                                                  Services                  and theand the
                                                                                    the Patient,

    Claimantwould
    Claimant wouldnot,
                   nothave
                       havelost
                             lostrevenues
                                   revenues
                                          of of $2,208,233:40.
                                             $2,208,233A0.  ToTo     neither
                                                                 date,
                                                               date,         the Plaintiff
                                                                        neither            nor the
                                                                                 the Plaintiff  nor the
                                                                                               ,
    Claimant has
    Claimant has received
                  receivedany
                           anypayment
                               paynienttowardS
                                         towards
                                               thisthis balance
                                                    balance     of $2,208,233:40
                                                            of $2,208,233A0       the Defendants.
                                                                             fromfrom  the Defendants.

    Defendants'representations
    Defendants' representations,  about
                               about the the
                                         PlanPlan
                                              werewere
                                                   falsefalse
                                                         and and
                                                              as a as     the Claimant
                                                                      a result
                                                                   result              .has been been
                                                                               the Claimant..has

     unable
     ufiabletotoobtain
                 obtainany
                         anypayment
                              paymenf.for
                                     for thethe Healthcare
                                             Healthcare       Services
                                                        Services       provided
                                                                  provided to the to the Patient:
                                                                                   Patient            sues sues
                                                                                                  Plaintiff
                                                                                            Plaintiff
                                                                            ,
    the Defendants
    .the Defendantsfor fornegligent  misrepresentation
                          negligent misrepresentation     in the
                                                      in the sumsum   of $2,208,
                                                                            233.40.
                                                                  of $2,208,233.40.

                                                   ri M,
                           VIOLATIONS
                           `UIOLATIONSOF
                                      OFTEXAS
                                         TEXASINSURANCE' CODE
                                               INSURANCE .C'OflDE


            26.    Plaintiff
                   Plainfiffpleads
                             pleadsasas.follows:
                                       follows:

            27.    Plaintiff
                   Plaintiffincorporates and realleges
                             incorporates.and          thethe
                                               realleges      allegations
                                                           allegations      set forth
                                                                       'set forth     above.
                                                                                  above.

            28.    As
                   ttisalleged
                        allegeciabove,
                                 above;the
                                         theDefendants
                                             Defendants  precertified
                                                       precertified     Patient's
                                                                    the the       benefits
                                                                            Patient's benefits
                                                                                           underunder the Plan
                                                                                                 the Plan

    and
    and.certified
         certifiedthat no no
                   "that  exclusions applied
                             exclusions      andand,that
                                        applied  that the the
                                                          Claimant
                                                              Claimant would.
                                                                   would      be ,compensated
                                                                         be compensated        for those
                                                                                        for those

    Healthcare
    HealthcareServices at itsits.usual
               Services.at     usual andand customary
                                         customary     rates.
                                                   rates.     However
                                                          However,
                                                                 ;the
                                                                   the insurance
                                                                       insuranceverification
                                                                                 verificationagents
                                                                                               agents
    of the Defendants.
           Defendants provided inaccurate, incomplete
                      provided.:inaccuraite,: incomplete and
                                                         and untimely information to the
                                                                      informatfon'to the Claimant.
                                                                                         Claiiriant.
    Specifically,
    Specifically, the
                   theDefendants
                      Defendantsverified
                                 verifiedthat nono
                                           that  applicable
                                                   applicable'exclusions  existed
                                                            &elusions existed      in Plan,
                                                                              in the  the Plan,
                                                                                            when,when,
                                                                                                  in in

    fact,
    fact, an
          an exclusion
             exelusion existed
                       existedininthe
                                   thePlan
                                      Planthat
                                           ahatdenied
                                                deniedcoverage
                                                        coverage  entirely
                                                               entirely for for services
                                                                            services     provided
                                                                                     provided at a.t

    Claimant's
    Claimant'sfacility.  These acts
               facility. These acts and
                                    andfailures to to
                                        'failures   act,act
                                                         constitute
                                                            constitute rnultiple
                                                                    multiple            of theoftexas
                                                                                  violations
                                                                             violations          the Texas.

    Insurance
    InsuranceCode
              Codefor
                   forwhich
                      .whichthe
                              theDefendants
                                  Defendantsare_are liable:
                                                liable.

            29:
            29.     Plaintiff,
                    Plainfiiff,as:assuccessor ofof
                                      successor  thetheClaimant,
                                                        Claimant,brings
                                                                    brings-
                                                                        this this cause
                                                                              cause     of action
                                                                                    of action     for injuries
                                                                                              for injuries

    caused
    caused by
           ,bythe
               the Defendants
                   Defendantsacts
                              actsin:in.
                                      violation
                                         vioiation
                                                 of ofTexas
                                                       Texas.Insurance
                                                              Insurance  Code-
                                                                       Code     §. 541.051,
                                                                            §. 541.051,     '541:052;
                                                                                        541:052,

    541.056, 541.060(0(1), 541.060(0(2)(A),
    54i.056; 541.Q64(a)(1), 54L060(a)(2)(A),541.060(a)(3),
                                            541:060(4)(3); 541.060(a)(7);
                                                           541:060(a)(7);and
                                                                          and.542.046(a).
                                                                             542.046(a).



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                                                     10
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                              .
       i.      Violations
               Nolations of  Texas Insurance
                          of Texas Insurance Code
                                             Code

       30.
       30-.    Plaintiffss cause
               Plaintiff   cause of  action arises:
                                 of action  arises out
                                                    out of
                                                         of the   following violations
                                                             the following  violationsof
                                                                                       ofthe
                                                                                          the Texas
                                                                                               Texas
Insurance Code:
          Codt:

       A.
       A.      Texas Insurance
               Texas           Code, § 541.051, .as follows:
                     1xisurance-CodeA.541.051,as    follows:

                       make, issue
                       make,         . or
                               issue,'  or circulate - or
                                                       or- cause
                                                           cause tb   be made,
                                                                   to be  made, issued
                                                                                 issued oror circulated,
                                                                                              circulated, anan
                       estimate, illustration,
                       es.tirnate. -illustratibn,circular   or statement
                                                     ciieular              representing
                                                                or statement representingwith
                                                                                           with respect
                                                                                                  respect to ,a
                                                                                                              a
                       policy issued
                       policy issuedoror to
                                          to be
                                             be issued
                                                issuedthethe termg
                                                              termsofofthe
                                                                        thepolicy,   benefits or
                                                                            policy, bejiefits  o-r advantages
                                                                                                    advantages
                       promised   bythe Dolicy.
                       ptbmised bythe.    policy.

        P.
        B.     Texas Insurance
               Texas. lbsurance Code,
                                Code..§ - 541.052,
                                          541.052, as follows:
                                                      follows:

                      :make,
                      .
                               publish, disseminate,
                        make,publish,    disseminate,circulate~
                                                         circulate, or  place before
                                                                     or.placd  before thepublic   or ditdctly
                                                                                       thepublie or   directly
                           indirectly causing
                        or indirectly   pauging to  be made, Published,
                                                 toIbe - made,.  p4blis  ed,  disseminated,
                                                                             dissenii'nated,   circulated,
                                                                                              6irciilated,  or
                                                                                                            or
                        placed before
                                befoie the public
                                             public
                                                  . an
                                                     afi advertisement,
                                                            advertisernent.announcement,
                                                                               annouricement, or statement
                                                                                                   st'Atement
                        containingananuntruc,
                        containing      untrue,deceptive...
                                                deceptive, or    misleadingassertion,
                                                              or.misteading    assertion, repres'dntatiOn,
                                                                                          representation, oror
                        statement regarding thee businesS
                      stat6h6ptkegardingth            "nes-sofo
                                                   bii~i,         insurance a persOn in the conduct of
                                                                   ms
                                                                f insurance   of a person  in the  conduct   of
                      -the person's
                      ;the   Person's insurance
                                       insurance business.
                                                  business.

        C.
        C.     Texas Insurkice
               Texas Insurance Code,
                               Code, §§ 54
                                        541.060, as follows:
                                           1.060_as_fblloWs:

               (a)
               (a)      It, is an
                        kis:   an unfair-
                                  un&ir--method
                                          methoa ofof competition.
                                                       competition or or an    unfair 'or
                                                                          an untair   -or deceptive
                                                                                            dedeptiV6 actact or
                        practice in -tlie,
                                      the business
                                           bilsiness of  insurance io
                                                      df insurance   to epgage,
                                                                        engage in in the,
                                                                                      the following
                                                                                               foflowing unfair
                        settlement practices
                       `settlernent  practices with  respect to
                                               with respect  to ai-claim
                                                                a claim byb y an insured,.d or
                                                                              aAmsure       6. r beneficiary:
                                                                                                 bdheficiairy:
               (1)
               (1)     misrepresenting
                       misrepres6riting:to    Qlaimant,Amateriil
                                        to aaclaimant  a materialfact
                                                                  fact or policy provision relating to
                                                                          policyprovision.relating
                       coverage as issue.
                       coverage-


        31.
        31.1    TheClaihiant
                The Clairnanthis
                              hassuffered
                                  sufferedactual
                                           actualdamages
                                                  damagesas as a resultofof'these
                                                            a result.       these violations of the
                                                                                                the

Texas'Insurance
Texas Insurance Code
                 Codei.nina.a sum
                               sum-ofofat.1least.
                                        at least $2,208,233.40,
                                                  $2,20.8*233.40, for which
                                                                  for        the Plaintiff
                                                                      which the   Plaintiff sues
                                                                                            gues the

Defendants.
Def&ndants.


        32.
       .32.,    Defendants knowingly
                Defendants, ktiowingly committed: each of
                                       committed :eAch    the foregoing.
                                                       of the foregoing. acts,
                                                                         apts, with actual
                                                                               with adtual
                                                    ,
knowledgeofthel-Mity,
knowledge of the falsity, unfaimeSs, 6r
                       unfaimp's's,  or deception  of the•foregoing
                                        dece0tioft,of                acts and
                                                       ihe:foregoing acts and practices
                                                                              practices in violation

 of the
,Of the Texas Insurance Code.
        Texa§ Ifisdtance Cod'e.




                                                        11
                                                        11
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          33.
          33..    Plaintiffwould
                  Plaintiff wouldshow
                                  show that,
                                        that,as.as the
                                                   the Defendants'  conduct
                                                       Defendants' conduct was committed
                                                                            rwas committed

"Imowingly,"  Plaint'iff
"knowingly," Plaintiff is is entitled
                          entitled    three::(3)
                                   to to,three   times the
                                             3) times  the actual
                                                           actualdamages
                                                                  damagesasasprovided
                                                                              providedunder Texas
                                                                                        .under Texas

Insurance  Code§ §541.152,
Insurance Code     541:T52,  plus
                           plus   reasonable
                                reasonable     attorney's
                                           attorney's fees,fees, and costs
                                                            and costs      of suit,
                                                                      of suit,      allwhich
                                                                               all for for which

amount  Plaintiffhereby
amount Plaintiff              relief..
                          seeks
                 hereby seeks relief.

          34.
          34.     Defendants° conduct
                  Defendants' conduct as alleged
                                         alleged :above has, made
                                                  above has' made itit. necessary
                                                                        necessaryfor
                                                                                  forPlaintiff
                                                                                      Plairitiff
                                                                                               to to

employ the
employ  the undersigned
            undersignedattorney
                         attorney
                                to to represenv
                                   represent him him  in this
                                                  in this     lawsuit,
                                                          lawsuit, thus thus   entitling
                                                                         entitling       Plaintiff
                                                                                   Plaintiff to    to

recover its reasonable
recover     reasonableand
                       andnecessary attorney'sfees
                           necessaryattorney's fees in
                                                    in this action under
                                                       this action underTex..
                                                                         Tex.Ins.
                                                                              Ins.Code
                                                                                   Code§ §

542.060(a)-(b)
542.060(a)-(b)fo
               for"rwhich
                    wliYchamount
                           amouritPlaintiff sues:
                                    Plaintiff
                                            sues.

          35.
          35.     Plaintiff wouldshow
                  Plaintiff would showthat
                                       thatall
                                           all :coriditions precedent.have
                                               conditions precedent    havebeen
                                                                            beenperformed,
                                                                                 performed,or or

excused  or otherwise
excused :or           satisfied: Plaintiff
            otherwise satisfied.           wouldfurther
                                 Plaintiff would furthershow
                                                         showthat
                                                              thatany
                                                                   anytechnical
                                                                       techriical notice
                                                                                notice

requirement, ififany
requirement,      anyexisted,
                      existed,,should
                                shouldbebe.deemed
                                             de,emed
                                                  waived and
                                                  waived andfurther
                                                             furtherexcused
                                                                     excusedsince
                                                                              sinceimposing
                                                                                    imposing  such
                                                                                            such

would cause
would cause an
            anextreme
               extrernehardship
                        hardship    such.:technical
                                and such            requirementis not
                                          technical rtquirement   not:an
                                                                       anessential
                                                                         essentialpart
                                                                                   partofofthe
                                                                                            the

contract:.
contract.

                                IX.. RE-QITEST
                                IX.  REQUEST FOR
                                               FOIi DISCLOSURE
                                                    DISCLOSYJRE

          3..6.
          36.     Pursuant
                  PursuanttotoRule
                               Rule194
                                    194ofofTexas.
                                            TexasRules
                                                  RulesofofCivil
                                                            CivilProcedure,
                                                                  Procedure,   Plaintiff
                                                                            Plaintiff     requests
                                                                                      requests. that that
Defendants,,
Defendants, each
            each individually, disclose witliin
                 individually; disclose within50:
                                                50 Aiays
                                                   days. of
                                                         of service
                                                            service of this'request,
                                                                       this request, the information
                                                                                         information
or material
   materialdescribed
            describedin Rule
                        Rule 194.2(a)
                             194:2(a)through
                                      through(i).
                                              (i):
                      _
          37.
          37.     Additionally; if deelaratory
                  Additionally,    declaratoryrelief
                                               reliefbeconies
                                                     becomes necessary,
                                                              necessary,Plaintiff
                                                                         Plaintiffrequests
                                                                                    re4uests
                                                                                           thathe
                                                                                           that hebe
awar ed-his
awarded, his costs
             costs and
                   and reasonable
                       reasonableand
                                  andnecessary
                                      necessaryattorney's
                                               attorney'sfees
                                                          feesincurred
                                                               incurred  pursuant
                                                                       pursuant    to Tex.
                                                                                to Tex. Civ.Civ.
Prac:   Rem. Code Ann.
Prat. & Rem.      Anri.§§ 37.009.
                          3'1:009.

          WHEREFORE,
          WITEREFORE, PREMISES
                      PItEmI5ES; C.ONSIDERED,
                                 CONSIDERED, Plaintiff
                                              Plaintiff respectfully
                                                        respectfullyprays
                                                                     praysthat
                                                                            thatthis
                                                                                  this
Honorable :Courtissue
Honorable Court issue,, judgment
                        judgcnentagainst
                                 against the Defendants
                                             Defendantsgranting
                                                        grantingthe
                                                                the Plaintiff
                                                                    Plaintiffthe
                                                                              thefollowing
relief:

                                                  12
Case 4:17-cv-02714 Document 1-2 Filed in TXSD on 09/08/17 Page 15 of 15




    1.     Plaintiff's, actual
           Plaintiff's          damages
                        actual dama ges m M  a sum
                                          a sum         of at least $2,208,233.40;
                                                of at, least        $2,208,233.40;

    2.     Consequential
           Consequential and -iand  incidentalin.damages
                               ncidentil,damages                              bedeterrnined
                                                  an amount.toin an amount to be determined at trial;at trial;

    3.     Attorney's       fees trial
           Attorney's:tees through through       trial and all levels:of
                                       aiid all levels,                  appeal , of
                                                                      bf appeal        this
                                                                                  of this    lawsuit;
                                                                                          law§uit.,

    4.
    4..    Prejudgment oostjudgment
           Prejudgmentand and post-judgment       interest,
                                     intaest,at the          at the highest rates permitted by laiw.;
                                                    highest ratesperoitted                     law;

    5.
    51.1   Plaintiff's
           PI'a'lntiff         costs
                       s'costs.df cburt of court;,-

    6.
    6".     All   relief
            AII.relief      pled
                       pled for     for herein;.-
                                herei-n

    7.       All, other relief,
           .,All,other:relief, legal legal. and   equitable,
                                            and equitable, to whi to
                                                                  Ch.which:the   Plaintiff
                                                                         the Plaintiff        mayentitled.
                                                                                       may be itistly be justly entitle&


                                   Respectfully
                                   ResiDectfullv    subMitted,
                                                 submitted,

                       by:         Isi Jordin NolanXruse
                                  lslJordin          Nolankruse.
                                   Jordin Nolan
                                  .Jbrdin       NolanKruse Krwe .
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                                   ATTORNEY
                                   ATTQRNEY -FO,R          FOR PLAINTIFF,
                                                                  P,LAINTIFF,
                                   NEIL GILMOUR,
                                               GiLOUR,M           III, ,solelyy in lib
                                                                                   his cmcapacity
                                                                                            pac      as Trustee
                                                                                             itv AsTruitee ofthe of the .
                                   Victory.
                                   -victory       Medical
                                              Mediesil,  f.Center Center
                                                                  Landnisirk Landmark         Unsecured Creditors'
                                                                             Unsiecui.eid Ctedftors'
                                   Grantor
                                   0-iraiitor     Trusi
                                              Trus"t




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